          Case 2:20-cv-01080-SMB Document 1 Filed 06/02/20 Page 1 of 13




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10
                            IN THE UNITED STATES DISTRICT COURT
11
                                      DISTRICT OF ARIZONA
12
13
     Mohamed Sabra; and Council on                 Case No.
14 American-Islamic Relations of Arizona,
                                                   COMPLAINT
15                 Plaintiffs,
16           vs.
17 Maricopa County Community College
     District; and Nicholas Damask, in his
18 official and individual capacity
19                 Defendants.
20

21
     //
22
23 //

24

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                                                                          COMPLAINT
        Case 2:20-cv-01080-SMB Document 1 Filed 06/02/20 Page 2 of 13




 1                                            PARTIES

 2          1.     Mohamed Sabra (hereinafter “Plaintiff” or “Sabra”) is a resident of Scottsdale,

 3 Arizona. He is a political science major at Scottsdale Community College and was enrolled
     in Defendant Nicholas Damask’s political science class, which is at issue in this litigation.
 4
            2.     The Council on American-Islamic Relations of Arizona, Inc. (“CAIR-AZ”) is
 5
     an Arizona-based 501(c)(3) non-profit organization committed to advocacy and protecting
 6
     the civil rights of American Muslims while promoting justice.
 7          3.     Defendant Maricopa County Community College District (hereinafter
 8 “Scottsdale Community College” or “SCC”) is a taxpayer funded organization.
 9          4.     Defendant Nicholas Damask (hereinafter “Damask”) is a professor of “World
     Politics”, also known as “POS120” at SCC. Damask is also the Social and Behavioral
10
     Sciences Evening / Summer Department Chair at SCC, and as such, serves SCC in his
11
     official capacity. Defendant Damask is also named in his individual capacity.
12                                  JURISDICTION & VENUE
13
            5.     This Court has Jurisdiction to hear this matter pursuant to 28 U.S.C. § 1331
14 and 42 U.S.C. § 1983 because Plaintiffs allege a violation of the First Amendment to the
15 United States Constitution.
16          6.     Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because both
     Defendants reside in Arizona. Venue is also proper here pursuant to 28 U.S.C. § 1391(b)(2)
17
     because a substantial part of the events or omissions giving rise to the claim occurred in the
18
     District.
19
                                    FACTUAL BACKGROUND
20
            7.     In the Spring 2020 semester, Mr. Sabra enrolled in Defendant Damask’s World
21 Politics class. Defendant Damask’s course description states: “Introduction to the principles
22 and issues relating to the study of international relations. Evaluation of the political,
23 economic, national, and transnational rationale for international interactions.” It does not

24

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                                                                                      COMPLAINT
        Case 2:20-cv-01080-SMB Document 1 Filed 06/02/20 Page 3 of 13




 1 state that it includes instruction based on one-sided, biased perspectives of Islam or that it
 2 excludes other ideologies of Islam.
              8.      According to the syllabus, the course was divided into six modules, with the
 3
     last being captioned, “Islamic Terrorism.”
 4
              9.      The Islamic Terrorism module had three components: (1) a PowerPoint
 5
     presentation; (2) an excerpt from Future Jihad; and (3) a quiz.
 6            10.     The PowerPoint presentation, created by Damask, was titled “Islamic
 7 Terrorism” and had three sub-topics: (1) “Defining Terrorism”; (2) “Islamic Terrorism:
 8 Definition”; and (3) “Islamic Terrorism: Analysis.”
              11.     Damask’s misguided personal biases against Islam and his advocacy for the
 9
     staunch disapproval of Islam is injected within 42 slides of class material. See Exhibit A,
10
     attached hereto and incorporated by reference as if fully set forth herein.
11
              12.     The first sub-topic was a general overview of terrorism and the differences
12 between it and other forms of war.
13            13.     In this section, Damask states: “effectively there is no non-Islamic

14 international terrorism in the contemporary world.”
                                                       1


              14.     The final slide of the first sub-topic is made up of numerous statistics, none of
15
     which contain citations to authoritative references, that compare alleged killings by “Islamic
16
     terrorists” to other groups such as the “Ku Klux Klan.” For example: “Islamic terrorists kill
17
     on average more people every 90 days than the number of blacks killed by the Ku Klux Klan
18 in its entire 120+ year history.”2
19            15.     Notably absent from any of Defendant Damask’s terrorism materials is any

20 discussion of the Ku Klux Klan, Nazi’s, militant fascism and neo-conservativism, and their
     scripture-based terrorism against African Americans, Judaism, and other ethnic minorities
21
22
23
        1
            Exhibit A, p. 20.
24      2
            Id. at 21.

                                                      2
                                                                                          COMPLAINT
        Case 2:20-cv-01080-SMB Document 1 Filed 06/02/20 Page 4 of 13




 1 throughout history in the United States.3 Defendant Damask failed to even mention domestic
 2 terrorism in the United States spurred by White Supremacy and racially motivated hate
     crimes, despite the fact that The Federal Bureau of Investigation has marked White
 3
     Supremacy in the United States as a significant domestic terrorism concern.4 It is an
 4
     unquestionable fact that the Ku Klux Klan espoused Protestant Christian ideologies to wage
 5
     terror in the United States in an attempt to create their own nation-state, and even believed
 6 that Jesus was the first Klansman. However, none of this material is discussed in any of
 7 Defendant Damask’s modules, despite its impact on national and international politics.
 8            16.     In the second sub-topic, Damask states: “Islamic terrorism should be
     understood within the broader history of Islamic warfare against unbelief, termed in Islamic
 9
     theology jihad, the Arabic root of which means ‘a condition of efforts’ or ‘striving.’ The
10
     ‘efforts’ to be undertaken are physical, not simply prayer or introspection.” 5 Defendant
11
     Damask failed to instruct students that prayer, introspection, and spiritual struggle are in fact
12 the actual mainstream belief of Muslims when discussing “jihad.”
13            17.     Additionally, Defendant Damask says that “Politically-speaking, jihad is a

14 religiously-justified, communal mobilization of the resources and capabilities of the Muslims
     population for war against unbelievers.”6 (emphasis in original). Defendant Damask failed
15
     to provide any counter-arguments or opposing viewpoints and instructs students to insist that
16
     his personal beliefs are facts, when they are not.
17
              18.     Defendant Damask goes on to intentionally distort the context of specific
18 Quranic verses that he quotes in his material. For example, without any context or
19 discussion, Damask cites to the following purported English translation of a Quranic verse
20

21      3
         Damask’s “Module 1” reading assignment includes five-and-a-half pages of an excerpt
   entitled, “The Surrender at Munich,” from The Rise and Fall of the Third Reich, by William
22 L. Shirer. The excerpt does not discuss Nazi ideology or its influence on American or global
   politics.
23     4
         https://www.fbi.gov/news/testimony/confronting-white-supremacy.
        5
            Exhibit A, at p. 22
24      6
            Id.

                                                    3
                                                                                        COMPLAINT
        Case 2:20-cv-01080-SMB Document 1 Filed 06/02/20 Page 5 of 13




 1 for the proposition that terrorism is encouraged in Islam: “It is important to note that the
 2 Quran places great emphasis on praising those who fight, declaring them to be ‘one degree
     over’ those who do not [4:95].”7
 3
            19.     Then, Defendant Damask explains that there is a “theological mandate for
 4
     jihad” on Muslims.8
 5
            20.     Defendant Damask continued to support his gross misinterpretations of the
 6 alleged “theological mandate for jihad” by misconstruing the two primary sources of Islam,
 7 the Quran (the Muslim holy scripture) and the Hadith, (Prophet Muhammed’s sayings,
 8 teachings, and actions).
                            9


            21.     Defendant Damask then purports to sparsely quote seven verses from the
 9
     Quran, none of which are complete or accurate quotes, and all of which are gross
10
     misconstructions of the Quran, which reflect Damask’s own personal hostility towards
11
     Islam.10
12          22.     Defendant Damask asserts that the Quran instructs Muslims to follow the
13 Hadith, and thereafter states that the Quran speaks to the “establishment of Islam through
14 violent struggle against Non-Muslims, including the use of terror,” and “jihad.”
                                                                                    11


            23.     Defendant Damask used an English translation and then highlighted and
15
     bolded the words “terrorize” and “terror” claiming that the use of these words in the
16
     translation supported his position that Islam supports terrorism. However, Damask failed to
17
     disclose that his purported translation is inaccurate, and that many translations of these
18 verses by actual scholars do not even use the words “terrorize” or “terror.”12
19
20

21
        7
          Id.
22      8
          Id. at 23.
        9
          Id. at 22-27.
23      10
           Id. at 23.
        11
           Id. at 24.
24      12
           Id.

                                                  4
                                                                                    COMPLAINT
        Case 2:20-cv-01080-SMB Document 1 Filed 06/02/20 Page 6 of 13




 1           24.    Damask’s pointed disapproval of Islam as a legitimate and peaceful religion

 2 continues with his advocation of Prophet Muhammed being a terrorist. Damask urges that
     Islamic terrorism’s “roots can be traced back to the Prophet Muhammad himself.”13
 3
             25.    Damask states: “The central role of the Prophet Muhammad: All Islamic
 4
     terrorists sanctify their actions through pious references to the Quran and the traditions of
 5
     the Prophet Muhammad, and by extensive use of longstanding Islamic legal doctrines.”14
 6 (emphasis in original).
 7           26.    He also depicted a picture of Prophet Muhammad and said that “Muhammad

 8 himself committed acts that also unambiguously would be regarded as terrorism today.”
                                                                                         15


             27.    Throughout the rest of the PowerPoint, Damask makes four blatantly false and
 9
     inflammatory statements about Islam, while purporting them to be facts:
10
             28.    “Contentions that Islam does not promote warfare or violence cannot be
11
     supported on either theological or historical grounds – indeed, such contentions would flatly
12 contradict hundreds of Quranic passages and hadiths (‘traditions’) of Muhammad, as well
13 as longstanding Islamic jurisprudence.”16 (emphasis in original);
14           29.    “Legitimacy of Islamic terrorism is supported by nearly every legal source
     Islamic legal authority.”17;
15
             30.    “As with terrorism and jihad generally, contemporary Islamic legal authorities
16
     are unanimous in their approval of suicide attacks.”18; and
17
             31.    “Muslim popular opinion has some sympathy for terrorism generally, and the
18 ultimate goals of terror group (sharia) particularly.”19
19
20

21      13
           Id. at 26, 27.
        14
           Id. at 25.
22      15
           Id. at 26, 27.
        16
           Id. at 25.
23      17
           Id. at 28.
        18
           Id. at 33.
24      19
           Id. at 40.

                                                   5
                                                                                     COMPLAINT
        Case 2:20-cv-01080-SMB Document 1 Filed 06/02/20 Page 7 of 13




 1            32.    The final sub-topic explained how different groups deal with Islamic

 2 Terrorism.
              33.    The next part of the module was the assigned reading of excerpts from Future
 3
     Jihad by Walid Phares, a known Islamophobe who openly promotes anti-Muslim ideologies.
 4
     See Exhibit B, attached hereto and incorporated by reference as if fully set forth herein.
 5
     Within this mandatory reading assignment, Phares explains that jihad is not a “spiritual
 6 phenomenon that could be and was abused by extremist ideologies,” but rather “a call for
 7 [physical] action.”20
 8            34.    Damask failed to articulate that other more acceptable and in fact, mainstream
     views of “jihad” have nothing to do with physical violence, but instead he improperly urged
 9
     students to accept his personal, biased interpretations as academic facts.
10
              35.    Notably, Damask failed to inform his students in any written materials that
11
     Walid Phares is not a neutral author and only represents one perspective – an extreme
12 perspective – that “jihad” has only one meaning, “as a call for action” and that the West has
13 “sanitized it and camouflaged it.”21
14            36.    Damask failed to disclose in any class materials that Walid Phares espouses
     anti-Muslim ideologies and has publicly demonized Islam, that Phares is known to have
15
     been an adviser to international criminal and Lebanese fascist, Samir Geagea, who was
16
     incarcerated for ordering church bombings and political assassinations in Lebanon in order
17
     to spark a war against Muslims in Lebanon. These are critical facts that should have been
18 disclosed by the Defendants to students who seek academic truths and were enrolled in
19 Damask’s World Politics class.22
20            37.    The most egregious denunciation of Islam and injection of personal hostilities
     against Islam are found in Damask’s semester-ending quiz, compromised of 25 multiple
21
22
23      20
             Exhibit B, p. 18, 19.
        21
             Id.at 19.
24      22
             https://www.motherjones.com/politics/2011/10/walid-phares-mitt-romney-lebanese-forces/

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                                                                                        COMPLAINT
        Case 2:20-cv-01080-SMB Document 1 Filed 06/02/20 Page 8 of 13




 1 choice questions. See Exhibit C, attached hereto and incorporated by reference as if fully
 2 set forth herein. Below are a few examples of the questions and answer choices that
     demonstrate a clear hostility and disapproval of Islam while also factually incorrect:
 3
             38.    Question 9: “Where is terrorism encouraged in Islamic doctrine and law?”23
 4
                              (1) The Medina verses
 5                            (2) The Muhammad verses
                              (3) The Mecca verses or
 6                            (4) Terrorism is not encouraged in Islamic doctrine and law.

 7           39.    The correct answer was number 1, “the “Medina verses.”

 8           40.    Question 12: “Who do Islamic terrorist strive to emulate?”24

 9                            (1) The Prophet Muhammad
                              (2) Saddam Hussein
10                            (3) Osama bin Laden or
                              (4) Ibn Tamiyyah.
11
             41.    The correct answer was number 1, “the Prophet Muhammad.”
12
             42.    Question 15: “Contemporary Terrorism is?”25
13                            (1) Communist / Left-wing
                              (2) Islamic
14                            (3) Mormon or
                              (4) Fascist / Right-wing.
15
16           43.    The correct answer was number 2. “Islamic.”

17           44.    Question 19: “Walid Phares notes that although ‘gullible’ Westerns are taught
     that jihad can have two meanings, people in the Arabic world understand that its
18
     overwhelmingly obvious meaning is?”26
19
                              (1) Struggle against sin
20                            (2) Spiritual contemplation
                              (3) Combat / war or
21                            (4) Peace.

22
        23
           Exhibit C, p. 6.
23      24
           Id. at 7.
        25
           Id. at 9.
24      26
           Id. at 11.

                                                      7
                                                                                        COMPLAINT
        Case 2:20-cv-01080-SMB Document 1 Filed 06/02/20 Page 9 of 13




 1            45.   The correct answer was 3, “Combat / war.”

 2            46.   Question 20: “Terrorism is ______ in Islam?”27
                           (1) Justified within the context of jihad
 3                         (2) Always forbidden
                           (3) Justified under international law or
 4
                           (4) Always justified.
 5
              47.   The correct answer was 1, “Justified within the context of jihad.”
 6            48.   Defendant’s admonishment against Islam and instruction that Islam is
 7 terrorism is no different than stating that Christianity and the Bible mandate Christians to
 8 follow the KKK and engage in terrorism against African American, Jews, and ethnic
 9 minorities. There is no place in higher-education for the furtherance of false personal biases
     designed to create hostility against particular religions, regardless of the religions.
10
              49.   On April 29, 2020, Mr. Sabra, a practicing Muslim, took this quiz and was
11
     shocked and offended to see the answer choices given for the questions above (all of which
12 he got wrong).
13            50.   Mr. Sabra was forced to make a decision; either disavow his religion or be

14 punished by getting the answers wrong on the quiz.
15            51.   Sabra answered the questions correctly based on how Muslims practice their
     religion. However, those answers were marked as incorrect by Damask.
16
              52.   As Damask teaches the course Muslim students must either disavow their
17
     religion or have their answers marked as incorrect.
18            53.   Mr. Sabra emailed Damask explaining that the questions and answers were
19 “absolutely in distaste of Islam,” and that he felt “disgust[ed].”
20            54.   On April 30, 2020, a known comedian made and circulated an Instagram video

21 on why the questions were inappropriate and challenged SCC on how they could allow such
     biased disapproval of a religion. The video went viral.
22
23

24      27
             Id.

                                                    8
                                                                                         COMPLAINT
       Case 2:20-cv-01080-SMB Document 1 Filed 06/02/20 Page 10 of 13




 1          55.      That same day, SCC contacted the Mr. Sabra to discuss the issue. Defendant

 2 SCC stated they would investigate the complaint, but less than 24 hours after the
     investigation, the Interim President of SCC posted a statement on the official school
 3
     Instagram page:
 4
                  …SCC senior leadership has reviewed the quiz questions and agrees with the
 5                student that the content was inaccurate, inappropriate, and not reflective to
                  inclusive nature of college. SCC deeply apologizes to the student and to anyone
 6                in the broader community who was offended by the material. SCC
                  Administration has addressed with the instructor the offensive nature of the quiz
 7                questions and their contradiction to the college’s values. The instructor will be
                  apologizing to the student shortly, and the student will receive credit for the
 8                three questions. The questions will be permanently removed from any future
                  tests.
 9
            56.      SCC stated that they would give Sabra credit for the three questions referenced
10
     above but failed to address what would be done about the other questions requiring
11 disavowal of Sabra’s religion; as of the date of this filing the points have not been credited.
12          57.      However, SCC knew or had constructive knowledge that this module was

13 going to be taught in this class, because under Maricopa Community College District
     Regulation 3.6, “a copy of the course syllabus must be submitted to the division/department
14
     office at the college no later than the end of the first week of class.” Furthermore, Defendant
15
     Damask, as department chair, has apparent authority to implement this module for and on
16
     behalf of SCC.
17          58.      SCC not only condoned the material but approved of its use in the classroom.
18          59.      Damask has been teaching this class for 24 years and upon information and

19 belief will continue to teach and remain the Department Chair.
            60.      Damask is scheduled to teach this course again in the Summer semester
20
     starting on 6/8/2020, and the Fall semester starting on 8/24/2020.
21
            61.      The Maricopa County Community College District has publicly defended
22
     Damask, and stated that despite their intent to “investigate”, the investigation will not
23 involve Damask and that he is not at risk of losing his job.

24

                                                     9
                                                                                       COMPLAINT
       Case 2:20-cv-01080-SMB Document 1 Filed 06/02/20 Page 11 of 13




 1             62.   On May 11, 2020, Defendant Damask publicly stated: “I'll never apologize

 2 for teaching the content that I am, or the manner in which I'm teaching it," (emphasis
     added).
 3
               63.   In an attempt to remedy the damage done by Damask, CAIR-AZ has had to
 4
     divert their resources to create a campaign correcting the Islamophobic information. CAIR-
 5
     AZ has contracted with a religious scholar to create materials for this campaign.
 6
 7                                   FIRST CAUSE OF ACTION
             Violation of the Establishment Clause of the First Amendments to the U.S.
 8                                            Constitution
 9           64.    Plaintiffs incorporate all of the above paragraphs as though fully set forth
     herein.
10
               65.   Defendants’ violations were committed under color of state law and are
11
     actionable under 42 U.S.C. § 1983.
12             66.   Under the Establishment Clause, the Government cannot act in an official way
13 that has the primary effect of disapproving or being hostile towards any religion.28
14             67.   Damask teaches a module concluding that Islam “mandates” terrorism and the

15 killing of Non-Muslims, and that this is the only interpretation of religious texts, but without
     any disclaimer to inform students that this is one-perspective and that Islam itself does not
16
     condone terrorism.
17
               68.   Similarly, Damask is not teaching that only some extremists espouse these
18 beliefs, but rather that literally, Islam itself teaches the mandates of terrorism (e.g.,
19 “Legitimacy of Islamic terrorism is supported by nearly every legal source Islamic legal
20 authority.”)

21             69.   The only objectively reasonable construction of Damask’s actions is that his
     primary message is the disapproval of Islam.
22
23
        28
             The clearest command of the Establishment Clause is that one religious denomination
24 cannot be officially preferred over another.” Larson v. Valente, 456 U.S. 228, 244, (1982).

                                                   10
                                                                                      COMPLAINT
       Case 2:20-cv-01080-SMB Document 1 Filed 06/02/20 Page 12 of 13




 1           70.    Scottsdale Community College was at all relevant times on notice that Damask

 2 was teaching the disapproval of Islam because Maricopa Community College District
     Regulation 3.6 requires its approval.
 3
             71.    Damask, as the division/department chair, engaged in these actions and thus
 4
     as the final policymaker, Damask’s actions are attributable to SCC.
 5

 6                                    SECOND CAUSE OF ACTION
               Violation of the Free Exercise Clause of the First Amendments To The U.S
 7
                                                 Constitution
 8           72.   Plaintiffs incorporate all of the above paragraphs as though fully set forth

 9 herein.
             73.    Under the Free Exercise Clause, the Government cannot force a person to
10
     condemn a particular religion, or penalize a student for not agreeing that only one
11
     interpretation of a religion is an accurate and acceptable interpretation.
12           74. Damask’s module quiz forced Sabra to agree to his radical interpretation of
13 Islam. When Sabra did not, he was penalized by getting the questions wrong and impacted
14 his grade.
15                                     PRAYER FOR RELIEF
16           WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in their
17 favor and against Defendants, and award the following relief:

18           A.     Declare that Defendants’ actions in teaching the materials violated the

19           Establishment Clause of the First Amendment of the United States Constitution;
             B.     Temporarily and permanently enjoin Defendants, their officers, and employees
20
             from teaching the violative materials unless and until the materials are modified such
21
             that they do not have the primary effect of disapproving of Islam;
22           C.     Award Plaintiffs nominal damages;
23           D.     Award Plaintiffs their reasonable costs and attorney’s fees; and
24           E.     Grant such other and further relief as the Court may deem to be just and proper.

                                                   11
                                                                                       COMPLAINT
     Case 2:20-cv-01080-SMB Document 1 Filed 06/02/20 Page 13 of 13




 1      Dated June 2, 2020

 2      Respectfully Submitted,

 3
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